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UNITED STATES COURT OF APPEALS FILED
FOR THE NINTH CIRCUIT
NOV 25 2020
MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS
STATE OF WASHINGTON; et al., No. 19-35914

Plaintiffs - Appellees, D.C. No. 4:19-cv-05210-RMP

v. U.S. District Court for Eastern
Washington, Richland

U.S. DEPARTMENT OF HOMELAND
SECURITY, a federal agency; et al., ORDER

Defendants - Appellants.

 

 

The amicus brief submitted on January 24, 2020 by Health Law Advocates,

Inc. is filed. No paper copies are required at this time.

FOR THE COURT:

MOLLY C. DWYER
CLERK OF COURT

By: Kevin Wing Gee
Deputy Clerk
Ninth Circuit Rule 27-7
